Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 1 of 12

U.S. Department of Justice

United States Attorney
District of Maryland
Northern Division

 

 

Matthew J. Maddox Mailing Address: Office Location: DIRECT. 410-209-4940
Assistant United States Attorney 36 S. Charles Street, 4th Floor 36S. Charles Street, 4th Floor MAIN: 410-209-4800
matihew.maddox2@usdoj.gov Baltimore, MD 21201 Baltimore, MD 21201 FAX: 410-962-0716
ITM 06.17.21

June 17, 2021

VIA EMAIL

Jose Molina, Esquire

608 Baltimore Avenue
Towson, Maryland 21204
jamolinalaw@gmail.com

Re: United States v. Sunday Ajayi, Crim. No.
Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement’) that has been offered to your client, Sunday Ajayi (hereinafter “Defendant”), by the
United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by dune 24,2021, it will be deemed withdrawn. The terms of the Agreement
are as follows: Jine 30, 2e2; JA

SA _
Offense(s) of Conviction

L The Defendant agrees to plead guilty to Counts One and Two of the Criminal
Information, which charges the Defendant with Conspiracy to Commit Access Device Fraud, in
violation of 18 U.S.C. § 1029(b)(2); and Aggravated Identity Theft, in violation of 18 U.S.C. §
1028A. The Defendant admits that the Defendant is, in fact, guilty of the offenses and will so
advise the Court.

Elements of the Offense(s)
Dn The elements of the offenses to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Criminal Information, in the District of Maryland,

Count One (Conspiracy to Commit Access Device Fraud)

a. Two or more persons entered an unlawful agreement to commit access device
fraud, in violation of 18 U.S.C. § 1029(a) (e.g., knowingly and with intent to

Rev. May 2018
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 2 of 12

defraud, effecting transactions with access devices issued to other persons, to
receive payment or any other thing of value during any one-year period the
aggregate value of which is equal to or greater than $1,000);

b. the Defendant knowingly and willfully became a member of the conspiracy;
and
c. at least one member of the conspiracy knowingly engaged in conduct in

furtherance of the aforesaid violation of 18 U.S.C. § 1029(a); and

Count Two (Aggravated Identity Theft)

 

 

 

d. the Defendant knowingly transferred, possessed, or used the means of
identification of another person,
e. knowing that the person was a real person,
f. without lawful authority,
g. during and in relation to a felony enumerated in 18 U.S.C. § 1028A(c), to
include the violation of 18 U.S.C. § 1029,
Penalties
a The maximum penalties provided by statute for the offenses to which the Defendant
is pleading guilty are as follows:
Count Statute Maximum Supervised Maximum Special
Prison Release Fine Assessment
18 U.S.C. § ‘
1 1029(b)(2) 7 ‘4 years 3 years $250,000 $100
2 years
2 18 U.S.C. § 1028A | mandatory, 1 year $250,000 $100
consecutive

 

 

 

 

 

 

 

a.

Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

 

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

& Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

Rev. August 2018
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 3 of 12

d, Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

é. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

5 Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. Ifthe Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. The Defendant has the right to have his case presented to a Grand Jury,
which would decide whether there is probable cause to return an indictment against him. By
agreeing to proceed by way of Criminal Information, the Defendant is giving up that right, and
understands that the charges will be filed by the United States Attorney without the Grand Jury.

c, If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Rev. August 2018
Case 1:21-cr-00242-CCB Document19 Filed 07/08/21 Page 4 of 12

d. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

e. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

, If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

g. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

h. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

i. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Defendant’s Consent to Proceed by Telephone and/or Video Teleconference

Rev. August 2018
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 5 of 12

5. This Office and the Defendant agree, pursuant to the Coronavirus Aid, Relief, and
Economic Recovery Act, H.R. 748 (the CARES Act), enacted on March 27, 2020, that certain
federal court proceedings are permitted to proceed telephonically, or via video-teleconference. The
parties further agree that Section 15002(b) of the CARES Act permits the District Court to conduct
certain hearings in felony matters remotely. Further, pursuant the District of Maryland's Standing
Order 2020-06, dated March 29, 2020, and subsequent Standing Orders, District Court Judges are
permitted to conduct Rule 11 plea hearings and sentencing hearings in felony cases remotely,

6. The Defendant consents, after fully consulting with undersigned defense counsel,
to proceed with the Rule 11 plea hearing telephonically, or via video teleconference, in this matter.
Because an in-person/ in-court proceeding in this matter cannot occur without seriously jeopardy
to public health and safety, and because delay in this case will result in serious harm to the interests
of justice, the Defendant specifically requests to proceed remotely. The Defendant agrees to
proceed remotely, and knowingly and expressly waives any and all rights to a personal appearance
in court in this matter.

Advisory Sentencing Guidelines Apply

a The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. §§ 3551 through 3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose
a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

8. This Office and the Defendant stipulate and agree to the Stipulation of Facts set
forth in Attachment A, which is incorporated by reference herein.

Count One (Conspiracy to Commit Access Device Fraud) and Relevant Conduct

a. This Office and the Defendant further agree that the applicable base offense
level is 6 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §§ 2X1.1(a) and
2B1.1(a)(2).

b. The parties further agree that there is an increase of 4 levels, pursuant to
U.S.S.G. § 2B1.1(b)(1)(C), because the loss exceeded $15,000 but did not exceed $40,000.
(Subtotal: 10)

& The parties further agree that there is an increase of 2 levels, pursuant to
U.S.S.G. § 2B1.1(b)(2)(A), because the offense involved 10 or more victims. (Subtotal: 12)

d. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
Rev. August 2018

5
Case 1:21-cr-00242-CCB Document19 Filed 07/08/21 Page 6 of 12

conduct. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(vili) violates this Agreement in any way.

& Thus, the parties anticipate a final offense level of 10 for Count One.
Count Two (Aggravated Identity Theft)

f. Pursuant to USSG §2B1.6, the guideline sentence for Count Two is two
years, to be imposed to run consecutively to any term of imprisonment imposed for Count One.

9, There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

10. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

11. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to
bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

Waiver of Appeal

2, In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
Rev. August 2018

6
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 7 of 12

that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

Ci The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Restitution

13. The Defendant agrees to the entry of a restitution order for the full amount of the
victims’ losses. The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total loss
caused by the offense conduct set forth in the factual stipulation. The total amount of restitution
shall be due immediately and shall be ordered to be paid forthwith. Any payment schedule imposed
by the Court establishes only a minimum obligation. Defendant will make a good faith effort to
pay any restitution. Regardless of Defendant’s compliance, any payment schedule does not limit
the United States’ ability to collect additional amounts from Defendant through all available
collection remedies at any time. The Defendant further agrees that the Defendant will fully
disclose to this Office, the probation officer, and to the Court, subject to the penalty of perjury, all
information (including but not limited to copies of all relevant bank and financial records)
regarding the current location and prior disposition of all funds obtained as a result of the criminal
conduct set forth in the factual stipulation, The Defendant further agrees to take all reasonable
steps to retrieve or repatriate any such funds and to make them available for restitution. If the
Defendant does not fulfill this provision, it will be considered a material breach of this A greement,
and this Office may seek to be relieved of its obligations under this Agreement.

Forfeiture

14. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

15. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in anything that constitutes money, property, and/or assets
derived from or obtained by the Defendant as a result of, or used to facilitate the commission of,
the Defendant’s illegal activities, including a money judgment in the amount of actual losses.

Rev. August 2018
7
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 8 of 12

16. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

17. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

18. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

19. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

20. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 1 1(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule | 1(c)(1(C).

Rev. August 2018
8
Case 1:21-cr-00242-CCB Document 19 Filed 07/08/21 Page 9 of 12

Court Not a Party

21. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

22. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner
Acting United States Attorney
| \
A Jan, VU
Matthew J. Maddox
Michael Davio
Assistant United States Attorneys

Thave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. 1am completely satisfied with the representation of my attorney.

c/ 29 / Lo di SE

Date Sunday Ajayi

Rev. August 2018
Case 1:21-cr-00242-CCB Document19 Filed 07/08/21 Page 10 of 12

Tam the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

6/- 29 / Wwe rH ~*~
Date Jose Molina, Esq.

 
Case 1:21-cr-00242-CCB Document19 Filed 07/08/21 Page 11 of 12

ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial

The defendant Sunday Ajayi (the “Defendant”), age 52, is a resident of Baltimore,
Maryland.

Between February 2018 and December 2018, in the District of Maryland, the Defendant
effected, and conspired with others to effect, transactions with access devices issued to other
persons, to purchase and obtain goods and merchandise with an aggregate value of more than
$1,000. During the time period of the conspiracy, the Defendant received from co-conspirator
Johnson Bidemi Ogunlana (“Ogunlana”) at least approximately 30 stolen payment cards (i.c.,
credit or debit cards) bearing, and issued in the name of, at least approximately 27 other persons,
whom the Defendant knew and understood to be real persons. The Defendant knew and
understood that Ogunlana, a postal carrier employed by the United States Postal Service, had stolen
the payment cards from the mail. The Defendant agreed with Ogunlana to use, or attempt to use,
the stolen payment cards to purchase personal electronics merchandise and other items from
various retail establishments in Maryland, affecting interstate commerce. Losses of at least
$15,000 were intended by, and foreseeable to, the Defendant as a result of his participation in the
conspiracy.

In March and April 2018, the Defendant and Ogunlana regularly communicated through a
mobile messaging application. On March 1, 2018, Ogunlana asked the Defendant for the names
on payment cards Ogunlana had given to the Defendant, stating that he would attempt to activate
them. In response, the Defendant sent Ogunlana three names of victims listed on payment cards
the Defendant had received from Ogunlana. On March 2, 2018, Ogunlana asked the Defendant to
call him when the Defendant was in “the mall” and told him that the three payment cards would
“work.” Within three minutes, the Defendant responded, “I’m in the mall now.” Approximately
32 minutes later, the Defendant informed Ogunlana that one of the cards had been declined.
Approximately two hours later, Ogunlana asked the Defendant what he purchased with the
payment cards, and the Defendant responded that he had purchased laptop computers and was on
his way home. On March 5, 2018, Ogunlana asked the Defendant for the purchase price of one of
the laptop computers and stated that he was interested in selling one of them. The Defendant
advised that the price of each laptop computer was $1,499. Ogunlana responded, “So if I sell for
1k not bad right,” to which the Defendant replied, “Yes.”

On August 14, 2018, the Defendant and Ogunlana conspired to use a stolen payment card
issued in the name of K.Y. at multiple retail establishments in Maryland, including a gas station,
a liquor store, and a consumer electronics store, to make purchases totaling more than $2,472 and
affecting interstate commerce. The Defendant was captured on video surveillance making
fraudulent purchases with the stolen payment card at the gas station and liquor store. K.Y.
Rev. August 2018

]
Case 1:21-cr-00242-CCB Document19 Filed 07/08/21 Page 12 of 12

informed law enforcement that he expected to receive the payment card in the mail but it never
arrived and that he was later notified about the fraudulent charges made by the Defendant and
Ogunlana. K.Y. did not authorize the Defendant or Ogunlana to possess or use any payment cards

issued in his name.

SO STIPULATED:

Rev. August 2018

{
Jove. Von me

Matthew J. Maddox

Michael Davio

Assistant United States Attorneys

 
 

 

=
Sunday Ajayi
Defendant

pr ~~

 

Jose Molina
Counsel for Defendant
